Case 1:20-cv-00250-HYJ-PJG ECF No. 14, PageID.161 Filed 11/05/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CHARLES HARPER,

          Plaintiff,
                                                                  Case No. 1:20-cv-250
 v.
                                                                  Hon. Hala Y. Jarbou
 ROBERT SPEAKMAN, et al.,

       Defendants.
 ____________________________/


                                            ORDER

         On April 2, 2020, Magistrate Judge Phillip J. Green issued a Report and Recommendation

(R&R) recommending that, save for Plaintiff’s claims against Robert Speakman, this action be

dismissed for failure to state a claim on which relief may be granted. (ECF No. 6.) The R&R was

duly served on the parties. No objections have been filed, and the deadline for doing so expired

on July 15, 2020. On review, the Court concludes that the R&R correctly analyzes the issues and

makes a sound recommendation.

         Accordingly,

         IT IS ORDERED that the R&R (ECF No. 6) is ACCEPTED and ADOPTED as the

opinion of the Court.

         IT IS FURTHER ORDERED that Defendants Frederick Longberg, Donald J. Evers,

Zachary Evers, and Jay Bryan Enterprise Inc. are DISMISSED.



Dated:     November 5, 2020                          /s/ Hala Y. Jarbou
                                                    HALA Y. JARBOU
                                                    UNITED STATES DISTRICT JUDGE
